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                               UNITED	STATES	DISTRICT	COURT	
                           FOR	THE	NORTHERN	DISTRICT	OF	ILLINOIS	
                                       EASTERN	DIVISION	
                                                	
BODYGUARD	PRODUCTIONS,	INC.	 	              )	
	      	      	       	      	      	       )	
	      	      Plaintiff,	    	      		      )	
	      	      	       	      	      	       )	    Case	No.		17	CV	7667	
       v.	    	       	      	      	       )		
	      	      	       	      	      	       )		   Judge	Robert	M.	Dow,	Jr.	
Does	1	–	25,	 	       	      	      	       )	    	
	      	      	       	      	      	       )	    Magistrate	Susan	E.	Cox	
	      	      Defendants.	 	        	       )	
	      	      	       	      	      	       )	
___________________________________	
	
DOE	NUMBER	23,	Ernesto	Mendoza,		           )	
	      	      	       	      	      	       )	
	      	      Counter-Plaintiff,	   	       )	
	      	      	       	      	      	       )	
	      v.	    	       	      	      	       )	
	      	      	       	      	      	       )	
BODYGUARD	PRODUCTIONS,	INC.	 	              )	
	      	      	       	      	      	       )	
	      	      Counter-Defendant.	 	         )	
______________________________________________________________________________	
                                                	
           DEFENDANT	DOE	NUMBER	23’S	ANSWER,	AFFIRMATIVE	DEFENSES	AND		
                        COUNTERCLAIMS	FOR	DECLARATORY	JUDGMENT		
______________________________________________________________________________	
                                                	
	      NOW	 COMES	Defendant	Doe	Number	23,	Ernesto	Mendoza	(hereinafter	“Defendant”)	

and	answers	the	Complaint	as	follows:	

	       1.	     This	 is	 a	 civil	 action	 seeking	 damages	 and	 injunctive	 relief	 for	 copyright	

infringement	 under	 the	 copyright	 laws	 of	 the	 United	 States	 (17	 U.S.C.	 §	 101	 et	 seq.).	 As	 set	

forth	 in	 greater	 detail	 below,	 this	 action	 involves	 the	 unauthorized	 acquisition,	 copying	 and	

transfer	 by	 Defendants	 of	 Plaintiff’s	 mainstream	 copyrighted	 motion	 picture	 The	 Hitman’s	

Bodyguard	(hereinafter	the	“Motion	Picture”	or	“The	Hitman’s	Bodyguard”).	


	                                                    1	
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	       ANSWER:	          Defendant	 admits	 only	 that	 this	 is	 an	 action	 seeking	 damages	 and	

injunctive	relief,	and	denies	the	remaining	allegations	of	paragraph	1.		

	       2.	      The	Hitman’s	Bodyguard	is	an	action	movie	directed	by	Patrick	Hughes,	and	stars	

Ryan	 Reynolds,	 Samuel	 L.	 Jackson	 and	 Gary	 Oldman,	 among	 others.	 The	 Motion	 Picture	 has	

significant	value	and	has	been	created	and	produced	at	considerable	expense.	

	       ANSWER:	          Defendant	 lacks	 personal	 knowledge	 of	 the	 information	 described	 in	

paragraph	2	and	therefore	denies	same.		

	       3.	      This	Court	has	jurisdiction	under	17	U.S.C.	§	101	et	seq.;	28	U.S.C.	§	1331	(federal	

question);	and	28	U.S.C.	§	1338(a)	(copyright).	

	       ANSWER:	          Defendant	admits	that	the	court	has	jurisdiction.		

	       4.	      The	acquisition,	copying	and	transfer	of	the	Motion	Picture	is	accomplished	using	

a	network	called	a	“BitTorrent	protocol”	or	“torrent,”	which	is	different	than	the	standard	Peer-

to-Peer	 (“P2P”)	 protocol.	 The	 BitTorrent	 protocol	 makes	 even	 small	 computers	 with	 low	

bandwidth	capable	of	participating	in	large	data	transfers	across	a	P2P	network.	The	initial	file-

provider	 intentionally	 elects	 to	 share	 a	 file	 with	 a	 torrent	 network.	 This	 initial	 file	 is	 called	 a	

seed.	Other	users	(“peers”)	and	the	network,	through	a	series	of	steps,	connect	to	the	seed	file	

to	download	a	movie.	As	additional	peers	request	the	same	file,	each	additional	user	becomes	a	

part	of	the	network	for	which	the	file	can	be	downloaded.	Each	new	file	downloader	receives	a	

different	piece	of	the	data	from	each	user	who	has	already	downloaded	the	file	that	together	

comprises	 the	 whole.	 This	 piecemeal	 system	 with	 multiple	 pieces	 of	 data	 coming	 from	 peer	

members	 is	 usually	 referred	 to	 as	 a	 “swarm.”	 The	 effect	 of	 this	 technology	 makes	 every	

downloader	also	an	uploader	of	the	illegally	transferred	file(s).	This	means	that	every	“node”	or	



	                                                       2	
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peer	 user	 who	 has	 a	 copy	 of	 the	 infringing	 copyrighted	 material	 on	 a	 torrent	 network	

intentionally	also	becomes	a	source	of	download	for	that	infringing	file.	

	       ANSWER:	        Defendant	 lacks	 personal	 knowledge	 to	 admit	 or	 deny	 the	 allegations	

contained	 in	 paragraph	 4,	 and	 therefore	 denies	 same.	 Paragraph	 4	 contains	 multiple	 legal	

conclusions	that	are	denied	on	that	basis	also.		

	       5.	     This	 distributed	 nature	 of	 BitTorrent	 leads	 to	 a	 rapid	 viral	 spreading	 of	 a	 file	

throughout	peer	users.	As	more	peers	join	the	swarm,	the	likelihood	of	a	successful	download	

increases.	Because	of	the	nature	of	a	BitTorrent	protocol,	any	seed	peer	who	has	downloaded	a	

file	prior	to	the	time	a	subsequent	peer	downloads	the	same	file	is	automatically	a	source	for	

the	subsequent	peer	so	long	as	that	first	seed	peer	is	online	at	the	time	the	subsequent	peer	

downloads	a	file.	Essentially,	because	of	the	nature	of	the	swam	downloads	as	described	above,	

every	infringer	is	stealing	copyrighted	material	from	many	Internet	Service	Providers	(ISPs”)	in	

numerous	jurisdictions.		

	       ANSWER:	        Defendant	 lacks	 personal	 knowledge	 to	 admit	 or	 deny	 the	 allegations	

contained	 in	 paragraph	 5,	 and	 therefore	 denies	 same.	 Paragraph	 4	 contains	 multiple	 legal	

conclusions	that	are	denied	on	that	basis	also.		

	       6.	     On	information	and	belief,	personal	jurisdiction	in	this	District	is	proper	because	

Defendant,	without	consent	or	permission	of	Plaintiff	as	exclusive	rights	owner,	within	Illinois	

and	 within	 this	 District,	 reproduced,	 distributed	 and	 offered	 to	 distribute	 among	 other	

Defendants	 over	 the	 Internet	 the	 copyrighted	 motion	 Picture	 for	 which	 Plaintiff	 has	 exclusive	

rights.	Plaintiff	has	used	geolocation	technology	to	trace	the	Internet	Protocol	(“IP”)	address	of	

each	Defendant	to	a	point	of	origin	within	this	District.	On	information	and	belief,	Defendant	



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has	an	IP	address	based	in	this	District	and	resides	in	or	committed	copyright	infringement	in	

this	District.		

	        ANSWER:	          Denied.		

	        7.	       In	 the	 alternative,	 this	 Court	 has	 personal	 jurisdiction	 over	 non-resident	

Defendants,	 if	 any,	 under	 the	 Illinois	 long-arm	 statute,	 735	 ILCS	 5/2-209(a)(2)	 because	 they	

downloaded	copyrighted	content	from	or	uploaded	it	to	Illinois	residents	located	in	this	District,	

thus	committing	a	tortious	act	within	the	meaning	of	the	Statute.		

	        ANSWER:	          	Denied.	

	        8.	       Venue	 in	 this	 District	 is	 proper	 under	 28	 U.S.C.	 §1391(b)	 and/or	 28	 U.S.C.	 §	

1400(a).	 On	 information	 and	 belief,	 Defendants	 reside	 in	 this	 District,	 may	 be	 found	 in	 this	

District	and/or	a	substantial	part	of	the	acts	of	infringement	complained	of	herein	occurred	in	

this	District.		

	        ANSWER:	          Defendant	admits	that	he	resides	in	the	district;	all	other	allegations	are	

denied.		

	        9.	       Plaintiff	is	a	motion	picture	developer	and	producer.	Plaintiff	brings	this	action	to	

stop	Defendant	from	copying	and	distributing	to	others	over	the	Internet	unauthorized	copies	

of	 Plaintiff’s	 copyrighted	 Motion	 Picture.	 Defendant’s	 infringements	 allows	 him	 and	 others	

unlawfully	 to	 obtain	 and	 distribute	 for	 free	 unauthorized	 copyrighted	 works	 that	 Plaintiff	

spends	considerable	sums	to	create,	acquire	and/or	distribute.	Each	time	Defendant	unlawfully	

distributes	 a	 free	 copy	 of	 Plaintiff’s	 copyrighted	 Motion	 Picture	 to	 others	 over	 the	 Internet,	

each	 person	 who	 copies	 the	 Motion	 Picture	 then	 distributes	 the	 unlawful	 copy	 to	 others	

without	any	significant	degradation	in	sound	and	picture	quality.	Thus,	Defendant’s	distribution	



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of	even	one	unlawful	copy	of	a	motion	picture	can	result	in	the	nearly	instantaneous	worldwide	

distribution	of	that	single	copy	to	a	limitless	number	of	people.	Plaintiff	now	seeks	redress	for	

this	rampant	infringement	of	its	exclusive	rights.		

	       ANSWER:	         Denied.	

	       10.	    Plaintiff	is	the	owner	of	the	copyright	and/or	the	pertinent	exclusive	rights	under	

copyright	in	the	United	States	in	the	Motion	Picture	that	has	been	unlawfully	distributed	over	

the	Internet	by	Defendant.		

	       ANSWER:	         Denied.			

	       11.	    The	 true	 names	 of	 Defendants	 are	 unknown	 to	 Plaintiff	 at	 this	 time.	 Each	

Defendant	 is	 known	 to	 Plaintiff	 only	 by	 the	 Internet	 Protocol	 (“IP”)	 address	 assigned	 to	 that	

Defendant	 by	 his	 or	 her	 Internet	 Service	 Provider	 and	 the	 date	 and	 the	 time	 at	 which	 the	

infringing	activity	of	each	Defendant	was	observed.	Plaintiff	believes	that	information	obtained	

in	 discovery	 will	 lead	 to	 the	 identification	 of	 each	 Defendant’s	 true	 name	 and	 will	 permit	

Plaintiff	 to	 amend	 this	 Complaint	 to	 state	 the	 same.	 Plaintiff	 further	 believes	 that	 additional	

information	 obtained	 will	 lead	 to	 the	 identification	 of	 additional	 infringing	 parties,	 as	

monitoring	of	online	infringement	of	Plaintiff’s	motion	picture	is	ongoing.	

	       ANSWER:	         Denied.	 Further	 answering,	 Defendant	 states	 that	 Plaintiff	 has	 been	 in	

possession	of	each	and	every	Defendant’s	true	name	and	contact	information	since	some	date	

prior	 to	 February	 13,	 2018,	 and	 has	 not	 named,	 and	 indeed	 has	 no	 intention	 of	 naming,	 any	

individual	defendant	in	order	to	pursue	an	actual	claim	of	infringement.	Indeed,	the	only	time	a	

Plaintiff	will	amend	to	name	an	individual	defendant	is	if	they	believe	amending	will	help	them	

obtain	 a	 settlement.	 Plaintiff’s	 only	 reason	 for	 filing	 these	 form	 claims	 is	 to	 scare	 defendants	



	                                                     5	
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into	unfair	and	inflated	“settlements”	by	threatening	them	with	$675,000	jury	verdicts.1	Since	

some	 time	 prior	 to	 February	 13,	 2018,	 Plaintiff,	 having	 obtained	 the	 names	 and	 contact	

information	for	all	25	Does,	has	sent	at	least	one	if	not	two	threatening	demand	letters	to	those	

individuals.2	According	 to	 the	 docket	 dated	 June	 19,	 2018,	 seven	 of	 the	 25	 Does	 have	 been	

dismissed.	Plaintiff	has	made	no	effort	to	serve	summons	or	otherwise	comply	with	the	plain	

language	of	Fed.	R.	Civ.	P.	4(m)	and	indeed,	will	only	do	so	if	forced	to	by	this	Honorable	Court.	

Otherwise,	Plaintiff	will	simply	continue	to	seek	continuance	after	continuance	so	that	it	may	

pursue	its	extrajudicial	extortion	efforts	without	proper	oversight	from	the	Court.	

                                                 COUNT	I	
                                      COPYRIGHT	INFRINGEMENT	
                                                       	
	       12.	    At	 all	 relevant	 times,	 Plaintiff	 has	 been	 the	 holder	 of	 the	 pertinent	 exclusive	

rights	 infringed	 by	 Defendants,	 as	 alleged	 hereunder,	 for	 the	 copyrighted	 Motion	 Picture,	

including	derivative	works.	The	copyright	Motion	Picture	is	the	subject	of	a	valid	Certificate	of	

copyright	Registration	(Registration	No.	PAu	3-844-508)	issued	by	the	Register	of	Copyrights	on	

July	14,	2017.	(Exhibit	A.)	

	       ANSWER:	        Defendant	 lacks	 personal	 knowledge	 to	 admit	 or	 deny	 the	 allegations	

contained	in	paragraph	12,	and	therefore	denies	same.	

	       13.	    The	copyrighted	Motion	Picture	includes	a	copyright	notice	advising	the	viewer	

that	the	Motion	Picture	is	protected	by	the	Copyright	Laws.	




																																																								
1
  	See	Exhibit	1	attached	hereto,	with	settlement	offer	redacted	pursuant	to	Rule	408.	
	
2
  	See	Exhibit	2	attached	hereto.	No	specific	settlement	offer	is	contained	therein	and	therefore	
no	redaction	pursuant	to	Rule	408	has	been	made.	


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	       ANSWER:	         Defendant	 lacks	 personal	 knowledge	 to	 admit	 or	 deny	 the	 allegations	

contained	in	paragraph	13,	and	therefore	denies	same.		

	       14.	     Each	 Defendant,	 without	 the	 permission	 or	 consent	 of	 Plaintiff,	 has	 used,	 and	

continues	to	use,	an	online	media	distribution	system	to	reproduce	and	distribute	to	the	public,	

including	 by	 making	 available	 for	 distribution	 to	 others,	 the	 copyrighted	 Motion	 Picture.	

Plaintiff	has	identified	Defendant	by	the	IP	address	assigned	to	Defendant	by	her	ISP	and	the	

date	and	the	time	at	which	the	infringing	activity	of	each	Defendant	was	observed	(Exhibit	B).	

Each	 Defendant	 has	 violated	 Plaintiff’s	 exclusive	 rights	 of	 reproduction	 and	 distribution.	 Each	

Defendant’s	 actions	 constitute	 infringement	 of	 Plaintiff’s	 exclusive	 rights	 protected	 under	 the	

Copyright	Act	(17	U.S.D.	§	101,	et	seq.)		

	       ANSWER:	         Denied.	

	       15.	     Each	Defendant	deliberately	participated	in	a	swarm	and/or	reproduced	and/or	

distributed	 the	 same	 seed	 file	 of	 Plaintiff’s	 copyrighted	 motion	 Picture	 in	 digital	 form	 with	

others.	In	particular,	Defendants	participated	in	a	collective	and	interdependent	manner	with	

other	 Defendants	 via	 the	 Internet	 for	 the	 unlawful	 purpose	 of	 reproducing,	 exchanging	 and	

distributing	copyrighted	material	unique	to	the	swarm.		

	       ANSWER:	         Denied.	

	       16.	     By	 participating	 in	 the	 same	 swarm,	 each	 Defendant	 participated	 in	 the	 same	

transaction,	occurrence	or	series	of	transactions	or	occurrences	as	the	other	Defendants	in	the	

swarm.	 The	 foregoing	 acts	 of	 infringement	 constitute	 a	 collective	 enterprise	 of	 shared,	

overlapping	facts	and	have	been	willful,	intentional,	and	in	disregard	of	and	with	indifference	to	

the	rights	of	Plaintiff.		



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	       ANSWER:	        Denied.	

	       17.	    As	 a	 result	 of	 Defendant’s	 infringement	 of	 Plaintiff’s	 exclusive	 rights	 under	

copyright,	Plaintiff	is	entitled	to	relief	pursuant	to	17	U.S.C.	§	504	and	to	its	attorneys’	fees	and	

costs	pursuant	to	17	U.S.C.	§	505.		

	       ANSWER:	        Denied.	

	       18.	    The	conduct	of	Defendant	is	causing	and,	unless	enjoined	and	restrained	by	this	

Court,	 will	 continue	 to	 cause	 Plaintiff	 great	 and	 irreparable	 injury	 that	 cannot	 fully	 be	

compensated	or	measured	in	money.	Plaintiff	has	no	adequate	remedy	at	law.	Pursuant	to	17	

U.S.C.	§	502	and	503,	Plaintiff	is	entitled	to	injunctive	relief	prohibiting	Defendant	from	further	

infringing	Plaintiff’s	copyright	and	ordering	that	Defendant	destroy	all	copies	of	the	copyrighted	

Motion	Picture	made	in	violation	of	Plaintiff’s	copyrights.		

	       ANSWER:	        Denied.	

                                          PRAYER	FOR	RELIEF	

	       1.	     For	 entry	 of	 a	 permanent	 injunction	 providing	 that	 each	 Defendant	 shall	 be	

enjoined	from	directly	or	indirectly	infringing	Plaintiff’s	rights	in	the	copyrighted	Motion	Picture,	

including	 without	 limitation	 by	 using	 the	 Internet	 to	 reproduce	 or	 copy	 Plaintiff’s	 Motion	

Picture,	to	 distribute	 Plaintiff’s	 Motion	Picture,	or	 to	make	 Plaintiff’s	Motion	 Picture	 available	

for	distribution	to	the	public,	except	pursuant	to	a	lawful	license	or	with	the	express	authority	

of	 Plaintiff.	 Each	 Defendant	 also	 shall	 destroy	 all	 copies	 of	 Plaintiff’s	 Motion	 Picture	 that	

Defendant	 has	 downloaded	 onto	 any	 computer	 hard	 drive	 or	 server	 without	 Plaintiff’s	

authorization	 and	 (subject	 to	 the	 Order	 of	 Impoundment	 prayer	 for	 below)	 shall	 serve	 up	 all	




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copies	 of	 the	 downloaded	 Motion	 Picture	 transferred	 onto	 any	 physical	 medium	 or	 device	 in	

each	Defendant’s	possession,	custody	or	control.		

	       2.	     For	judgment	in	favor	of	Plaintiff	against	Defendants	that	they	have:	a)	willfully	

infringed	Plaintiff’s	rights	in	its	federally	registered	copyright	pursuant	to	17	U.S.C.	§	501;	and	b)	

otherwise	 injured	 the	 business	 reputation	 and	 business	 of	 Plaintiff	 by	 Defendant’s	 acts	 and	

conduct	set	forth	in	this	Complaint.	

	       3.	     For	 Judgment	 in	 favor	 of	 Plaintiff	 against	 Defendants	 for	 actual	 damages	 or	

statutory	damages	pursuant	to	17	U.S.C.	§	504,	at	the	election	of	Plaintiff,	in	an	amount	to	be	

determined	at	trial.		

	       4.	     For	an	Order	of	Impoundment	under	17	U.S.C.	§§	503	and	509(a)	impounding	all	

infringing	copies	of	Plaintiff’s	Motion	Picture	which	are	in	Defendants’	possession	or	under	their	

control.		

	       5.	     For	 Judgment	 in	 favor	 of	 Plaintiff	 and	 against	 Defendants	 awarding	 Plaintiff	

attorneys’	 fees,	 litigation	 expenses	 (including	 fees	 and	 costs	 of	 expert	 witnesses)	 and	 other	

costs	of	this	action.	

	       6.	     For	 Judgment	 in	 favor	 of	 Plaintiff	 against	 Defendants,	 awarding	 Plaintiff	 such	

further	declaratory	and	injunctive	relief	as	may	be	just	and	proper	under	the	circumstances.		

	       ANSWER	TO	PARAGRAPH	1	–	6	OF	PRAYER	FOR	RELIEF:	                   Defendant	      denies	      any	

wrongdoing,	 denies	 Plaintiff	 is	 entitled	 to	 any	 recovery,	 and	 further	 states	 that	 he	 should	 be	

entitled	to	his	own	attorneys’	fees	for	defending	this	matter.	

	

                                                      	



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                                        AFFIRMATIVE	DEFENSES	

                                                      	

                                         LICENSE	AND	CONSENT	

	       Plaintiff	 is	 likely	 “honeypotting”	 or	 “seeding”	 the	 Motion	 Picture	 as	 a	 means	 of	

encouraging	 BitTorrent	 users	 to	 download	 the	 allegedly	 copyright	 work.	 In	 doing	 so,	 Plaintiff	

provides	 an	 implied	 license	 for	 BitTorrent	 and	 other	 users,	 precluding	 it	 from	 claiming	

infringement.	

                                                      	

                                       FRAUD/UNCLEAN	HANDS	

	       If	 Plaintiff	 had	 any	 real	 interest	 in	 protecting	 its	 copyrighted	 materials,	 it	 would	 take	

more	 prophylactic	 actions	 to	 protect	 its	 copyright,	 rather	 than	 seeding,	 honeypotting	 or	

encouraging	the	dissemination	of	its	allegedly	copyrighted	materials.		Plaintiff’s	failure	to	do	so	

indicates	it	has	no	real	interest	in	protecting	its	copyrighted	materials,	and	in	fact	prefers	that	

its	materials	be	misused,	as	threatening/pursuing	litigation	is	infinitely	more	profitable	than	the	

legal	sale	of	the	copyrighted	material.		

                                                      	

                                         MISUSE	OF	COPYRIGHT	

	       The	purpose	of	the	Copyright	Act	is	to	protect	original	works,	not	to	misuse	the	Court	

system	as	Plaintiff	and	its	related	entities	do	to	extort	unreasonable	and	unsupportable	sums	

from	innocent	victims.	

                                                      	

                                                      	



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                                          FAILURE	TO	MITIGATE	

	       Plaintiff	 has	 made	 no	 attempt	 to	 mitigate	 any	 actual	 or	 perceived	 damages,	 including	

but	not	limited	to	sending	out	DMCA	take-down	notices	and	taking	additional	reasonable	steps	

not	 yet	 known	 to	 limit	 use	 of	 its	 allegedly	 copyrighted	 materials	 in	 the	 manner	 alleged	 in	 its	

Complaint.	

                                                       	

                                          IMPROPER	PURPOSE	

	       Plaintiff	states	in	paragraph	11	of	its	complaint	that	“additional	information	obtained	in	

discovery	 will	 lead	 to	 identification	 of	 additional	 infringing	 parties,	 as	 monitoring	 of	 online	

infringement	 …	 is	 ongoing.	 Defendant	 submits	 that	 suit	 against	 one	 party	 for	 the	 purpose	 of	

determining	the	existence	and/or	identity	of	another	party	is	an	improper	purpose	for	filing	suit.	

                                                       	

                                    BARRATRY	AND	MAINTENANCE	

	       Upon	information	and	belief,	the	attorneys	and	“experts”	who	file	these	claims	have	a	

prohibited	 interest	 in	 the	 outcome	 of	 these	 matters	 and	 the	 filing	 of	 such	 claims	 violates	

common	law	and	criminal	prohibitions	on	barratry	and	maintenance	in	Illinois.	

	

	

	

	

	

	



	                                                    11	
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                                          COUNTERCLAIMS	

                   STATEMENT	OF	FACTS	AND	NATURE	OF	COUNTERCLAIMS	

                                             The	Parties	

       1.      Plaintiff/Counter-Defendant	Bodyguard	Productions,	Inc.,	(“This	Plaintiff”)	is	one	

of	countless	plaintiffs		(“Other	Plaintiffs”)	filing	form	copyright	infringement	claims	clogging	the	

dockets	of	federal	courts	across	the	country.	These	copyright	infringement	claims,	which	can	be	

divided	for	ease	of	discussion	into	“porn”	and	“non-porn”	cases,	are	frequently	referred	to	as	

“copyright	 trolling” 3 	because	 the	 claims	 rely	 on	 unsubstantiated	 form	 pleadings	 and	

declarations	that	indiscriminately	target	infringers	and	non-infringers	alike.		

       2.      Defendant	is	a	non-native	English	speaker	in	his	early	70s.	He	is	currently	out	of	

the	country	seeking	last-ditch	treatment	for	end-stage	renal	failure.		

       3.      Defendant	 has	 never	 used	 BitTorrent,	 never	 watched	 The	 Hitman’s	 Bodyguard	

and	indeed	had	never	heard	of	the	movie	prior	to	being	notified	of	this	litigation.	

       4.      Defendant’s	only	connection	to	the	alleged	infringement	is	as	the	account	holder	

for	the	IP	address	Plaintiff’s	subpoena	to	Comcast	identified.		

                                  A	History	of	Copyright	Trolling	

       5.      	“A	 copyright	 troll	 is	 a	 party	 (person	 or	 company)	 that	 enforces	 copyrights	 it	

owns	 [or	 purports	 to	 own]	 for	 purposes	 of	 making	 money	 through	 litigation,	 in	 a	 manner	

considered	unduly	aggressive	and	opportunistic…”4	

																																																								
3
  	See	Matthew	Sag,	Copyright	Trolling:	an	Empirical	Study,	Iowa	Law	Review	(2014)	available	at	
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2404950	
	
4
  	https://en.wikipedia.org/wiki/Copyright_troll	
	


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        6.      Upon	 information	 and	 belief,	 copyright	 trolls	 began	 filing	 cases	 in	 the	 2009	 –	

2010	time	frame.	The	names	change	but	the	game	is	always	the	same:	extortion.	

        7.      The	entities	behind	the	filing	of	these	claims	–	not	the	Plaintiffs,	which	are	most	

of	the	time	merely	shell	companies	–	have	no	need	to	invest	in	a	case	that	could	be	proven	at	

trial	or	in	a	monitoring	system	that	reliably	identifies	infringement	without	a	large	ratio	of	false	

positives	 because	 they	 have	 figured	 out	 a	 way	 to	 trick	 courts	 across	 the	 country	 into	 rubber	

stamping	 their	 Rule	 26(f)	 Motions	 for	 early	 discovery,	 the	 results	 of	 which	 provide	 them	 the	

only	thing	they	need:	a	list	of	individuals	to	threaten	and	extort.	

        8.      Trolling	 as	 a	 business	 model	 works	 because	 the	 cost	 to	 initiate	 a	 lawsuit	 is	

extremely	low	in	federal	court	($400.00	per	filing)	and	the	cost	to	hire	a	copyright	lawyer	for	

the	 defendant	 can	 be	 very	 high	 ($300-	 $500+	 per	 hour).	 	 Retainers	 requested	 by	 defense	

counsel	frequently	far	exceed	the	cost	of	an	early	settlement.		

        9.      The	 sole	 reason	 for	 these	 filings	 is	 to	 misuse	 the	 court’s	 subpoena	 power	 to	

obtain	lists	of	extortion	targets	–	in	many	cases	individuals	with	no	liability	–	who	will	be	bullied	

and	 threatened	 with	 statutory	 damages	 of	 up	 to	 $150,000	 for	 a	 single	 download.	 Even	 when	

the	 extortion	 target	 has	 done	 nothing	 wrong,	 This	 Plaintiff	 and	 Other	 Plaintiffs’	 counsel	 are	

frequently	able	to	intimidate	defendants	into	paying	them	money	out	of	fear.	

        10.     The	 true	 purpose	 of	 the	 filing	 –	 a	 list	 of	 extortion	 targets	 –	 is	 easily	 obtainable	

because	the	form	complaint	and	form	declaration	receive	little	or	no	scrutiny	from	most	courts.	

        11.     This	is	particularly	true	in	the	Northern	District	of	Illinois,	which	does	not	appear	

to	 require	 compliance	 with	 Fed.	 R.	 Civ.	 P.	 4(m),	 thereby	 allowing	 Plaintiff’s	 extrajudicial	




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extortion	 activities	 to	 continue	 long	 past	 the	 90	 days	 the	 Federal	 Rules	 suggest	 a	 defendant	

must	be	named	and	served.	

                                  The	Mechanics	of	Copyright	Trolling	

        12.     These	 lawsuits	 are	 procedurally	 formulaic:	 identical	 or	 substantially	 similar	

complaints,	identical	or	substantially	identical	ex	parte	motions	for	early	discovery,	identical	or	

substantially	identical	declarations	in	support	of	these	ex	parte	motions	for	early	discovery,	and	

identical	or	substantially	identical	demand	letters	within	and	among	jurisdictions.	

        13.     A	 few	 days	 after	 the	 case	 is	 filed,	 This	 Plaintiff	 and	 Other	 Plaintiffs	 file	 a	 form	

motion	 for	 early	 discovery,	 including	 a	 form	 declaration	 from	 purported	 “expert”	 Daniel	

Arheidt,	who	claims	in	form	fashion	to	have	obtained	certain	evidence	of	infringement	through	

use	of	“geolocation	technology.”		

        14.     This	 Plaintiff’s	 attorney	 then	 sends	 threatening	 and	 misleading	 form	 demand	

letters	under	the	auspices	of	Federal	Rule	of	Evidence	408.	(See	Exhibits	1	and	2.)	

        15.     If	an	individual	contacts	This	Plaintiff’s	attorney	to	discuss	the	matter,	they	are	

threatened	 with	 exaggerated	 damages	 and	 litigation	 costs	 in	 an	 effort	 to	 maximize	

“settlement”	amounts.	

        16.     If	 This	 Plaintiff’s	 attorney	 or	 his	 agents	 are	 not	 successful	 in	 threatening	 a	 Doe	

into	settlement	they	usually	simply	dismiss	that	Doe	without	prejudice,	but	will	rarely	amend	

their	 complaint	 to	 name	 the	 defendant	 individually	 solely	 for	 the	 purpose	 of	 obtaining	 a	

settlement.	




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        17.     Thus,	Plaintiff/Counter-Defendant	and	Other	Plaintiffs,	have	obtained	hundreds	

of	 thousands,	 if	 not	 millions	 of	 dollars	 in	 “settlements”	 by	 threatening	 infringers	 and	 non-

infringers	identically.		

        18.     The	 trolling	 model	 relies	 on	 two	 practices:	 “sue	 and	 settle”	 and	 “cut	 and	 run.”		

Non-porn	 plaintiffs	 like	 This	 Plaintiff	 prefer	 “sue	 and	 settle,”	 which	 is	 the	 best	 return	 on	

investment:	 Pay	 the	 filing	 fee;	 file	 a	 form	 motion	 for	 early	 discovery	 using	 the	 declarations	

described	below	against	as	many	Doe	defendants	as	a	given	jurisdiction	will	allow;	get	names	

and	addresses	of	account	holders;	send	threatening	and	exaggerated	demand	letters;	get	quick	

settlements	prior	to	amending	to	name	actual	defendants;	dismiss	the	remainder	of	defendants	

without	prejudice	before	the	Court	requires	amendment	and/or	service	under	Rule	4(m).		

        19.     This	 Plaintiff	 and	 Other	 Plaintiffs	 using	 the	 “sue	 and	 settle”	 model	 have	 no	

intention	 of	 pursuing	 an	 actual	 lawsuit,	 and	 indeed,	 will	 employ	 the	 “cut	 and	 run”	 practice	 if	

forced	 to	 do	 so:	 engage	 in	 half-hearted	 litigation	 for	 the	 sole	 purpose	 of	 hoping	 the	 cost	 of	

defense	will	scare	the	defendant	into	settlement;	and	when	those	efforts	fail,	file	a	Rule	41	and	

fight	tooth	and	nail	if	and/or	when	the	prevailing	party	defendant	seeks	their	fees	and	costs.		

        20.     The	most	important	factor	in	the	economic	model	is	this:	This	Plaintiff	and	Other	

Plaintiffs	 do	 not	 have	 the	 “evidence”	 their	 form	 declarations	 and	 complaints	 suggest	 they	

have.	The	“evidence”	purportedly	mined	by	these	Investigators	is	insufficient	as	a	matter	of	law	

to	establish	infringement,	and	that	evidentiary	failure	is	known	by	the	real	party	in	interest	and	

its	lawyers	from	the	time	the	case	is	filed.	

        21.     If	litigation	in	the	form	of	an	answer	and/or	counterclaim	for	a	defendant	risks	

exposing	 that	 fact,	 the	 plaintiff	 must	 cut	 and	 run	 –	 and	 even	 pay	 the	 costs	 and	 fees	 of	 the	



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defendant	 where	 necessary5		 –	 in	 order	 to	 preserve	 an	 extortion	 model	 that	 indiscriminately	

treats	both	infringers	and	non-infringers	alike.	

                                    The	German	Investigator	Link	

        22.     The	 scheme	 requires	 that	 Plaintiff	 present	 evidence	 of	 alleged	 infringement	 as	

though	it	has	been	as	procured	by	a	purported	“expert”	through	use	of	purported	proprietary	

“geolocation	 technology.”	 This	 “geolocation	 technology”	 –	 referred	 to	 in	 this	 case	 as	

“MaverikMonitor”	is	likely	owned	an	operated	by	the	real	party	in	interest	hereto,	Guardaley,	a	

British	corporation.	

        23.     Trolling	 is	 only	 economically	 viable	 if	 the	 processes	 are	 outsourced	 to	 third	

parties:	 The	 “geolocation	 technology”	 is	 operated	 by	 an	 unregulated	 entity	 in	 Germany,	

referred	to	in	porn	cases	as	IPP,	and	currently	referred	to	in	non-troll	matters	as	“Maverickeye,”	

although	the	names	of	both	the	“investigators”	and	the	entity	“employing”	the	“investigator”	

frequently	change.	Pleadings,	motions	and	supporting	documents	are	prepared	offshore,	not	by	

counsel	 of	 record	 or	 the	 shell	 corporation	 “Plaintiff.”	 These	 offshore	 entities	 that	 are,	 upon	




																																																								
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  	See,	e.g.	Elf-Man	LLC	v.	Lamberson,	Case	No.	13	cv	395	(E.D.	Wa.)	(ECF	No.	110	Jan.	9,	2015);	
Cobbler	Nevada,	LLC	v.	Gonzales,	Case	No.	3:15-cv-00866-SB	(D.	Or.)	(ECF	No.	51,	Dec.	2,	2016)	
findings	and	recommendation	awarding	fees	and	ordering	dismissal	with	prejudice	in	response	
to	a	motion	for	voluntary	dismissal	under	Rule	41);	ME2	Productions	v.	Sheldon,	Case	No.	17	cv	
00158	(D.	Or.)	(ECF	No.	42,	Oct.	18,	2017)	(costs	and	fees	recommendation	upheld);	Clear	Skies	
Nevada,	LLC	v.	Hancock,	Case	No.	15	cv	6708	(N.D.	Ill.	(Defendant	awarded	$65,268.31	in	costs	
and	fees	and	requested	dismissal	without	prejudice	converted	to	dismissal	with	prejudice)	(ECF	
No.	101,	Aug.	23	2017	and	ECF	No.	133,	Feb.	21,	2018);	Criminal	Productions	Inc.	v.	Cordoba,	
Case	No.	2:16-cv-02704-JCM-PAL	(D.	Nev.)	(Motion	for	Attorneys’	Fees	and	Costs	(ECF	No.	51,	
Aug.	2,	2017)	in	the	amount	of	$48,628.50	(ECF	No.	60,	April	17,	2018);	Fathers	&	Daughters	
Nevada,	LLC	v.	Zhang,	Case	No.	3:16-cv-1443-SI	(D.	Or.)	(ECF	No.	68,	June	18,	2018)	(awarding	
$47,407.70	in	costs	and	fees	to	prevailing	party	defendant).	
	


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information	 and	 belief,	 owned	 by	 the	 same	 individual	 or	 group	 of	 individuals,	 most	 likely	

Guardaley,	a	British	Corporation.	

       24.     Early	 troll	 cases	 were	 filed	 by	 entities	 claiming	 to	 use	 the	 infringement	

monitoring	services	of	Guardaley,	Limited	“a	company	incorporated	in	England	and	Wales…	and	

a	leading	provider	of	online	anti-piracy	services	for	the	motion	picture	industry.”	

       25.     These	 cases	 also	 frequently	 included	 a	 declaration	 from	 Benjamin	 Perino,	

claiming	a	relationship	to	an	entity	referred	to	as	U.S.	Copyright	Group.	

       26.     Plaintiffs	such	as	G2	Productions,	LLC,	Atche,	and	West	Bay	One,	Inc.,	relied	on	

the	 declarations	 of	 Guardaley	 representative	 Patrick	 Achache	 to	 support	 motions	 for	 early	

discovery	 to	 obtain	 the	 identities	 of	 hundreds,	 if	 not	 thousands,	 of	 “Does”	 –the	 extortion	

targets	 for	 whom	 Plaintiff	 sought	 contact	 information	 through	 use	 of	 the	 court’s	 subpoena	

powers.		

       27.     In	his	form	declarations	in	support	of	these	motions,	Achache	suggested	he	was	

the	 “Director	 of	 Data	 Services,”	 for	 Guardaley,	 and	 had	 “approximately	 ten	 (10)	 years	 of	

experience	related	to	the	protocols,	technical	architecture	and	operation	of	the	Internet.”	

       28.     In	 March	 of	 2012,	 after	 Guardaley	 was	 dismissed	 from	 the	 Shirokov	 v.	 U.S.	

Copyright	Group,	et	al.	matter,	references	to	“U.S.	Copyright	Group”	and	“Guardaley”	no	longer	

appeared	in	new	filings.		

       29.     The	“Motion	for	Leave	to	Take	Discovery	Prior	to	Rule	26(f)	Conference”	in	the	

Northern	District	of	Illinois’s	first	troll	case,	RG	Investments	Group,	Inc.,	v.	Does	1-117	relied	on	

the	declaration	of	Tobias	Fieser,	an	individual	employed	by	IPP,	Limited,	a	company	“organized	




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and	existing	under	the	laws	of	Germany,	in	its	litigation	support	department.”	(Dkt.	No.	12-1	¶	

4.)	

          30.   	Fieser	 claimed	 that	 “Plaintiff	 retained	 IPP	 to	 identify	 the	 IP	 addresses	 that	 are	

being	 used	 by	 those	 people	 that	 are	 using	 the	 BitTorrent	 protocol	 and	 the	 internet	 to	

reproduce,	distribute,	display	or	perform	Plaintiffs’	copyrighted	works.	(Dkt.	No.	12-1	¶	12.)	

          31.   In	the	Northern	District	of	Illinois	non-porn	plaintiffs	like	This	Plaintiff	and	Other	

Plaintiffs	have	relied	on	declarations	purportedly	signed	by	declarants	William	Gorfein,	Darren	

M.	Griffin,	Daniel	Macek	and	most	recently	Daniel	Arheidt,	although	there	could	be	others.	

          32.   The	more	recent	declarations	of	Arheidt,	Fieser,	Gorfein,	and	Macek	all	appear	

to	be	amalgamations	of	early	declarations	from	Achache,	Fieser	and	Perino,	suggesting	that	the	

“litigation	support	department”	for	all	of	the	copyright	troll	plaintiffs	is	one	in	the	same.	

          33.   Upon	information	and	belief,	This	Plaintiff	and	Other	Plaintiffs	have	not	made	a	

single	alleged	“expert”	witness	available	for	deposition.	

          34.   Upon	 information	 and	 belief,	 only	 one	 of	 the	 tens	 of	 thousands	 of	 cases	

employing	this	model	has	gone	to	trial.	

          35.   Indeed,	the	raison	d’etre	for	these	complaints	is	not	protection	of	a	copyright	or	

pursuit	 of	 an	 infringer.	 That	 would	 require	 the	 Plaintiff	 to	 actually	 litigate	 their	 claims	 and	

produce	evidence	allegedly	in	the	possession	of	the	German	investigators.		

                                     JURISDICTIONAL	STATEMENT	

          36.   This	 Honorable	 Court	 has	 personal	 jurisdiction	 over	 this	 Counter-Defendant	 for	

purposes	of	these	Counterclaims	Pursuant	to	the	Declaratory	Judgment	Act,	28	U.S.C.	§	2201.	




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        37.     Venue	 is	 proper	 in	 this	 Honorable	 Court	 under	 28	 U.S.C.	 §	 1391(b).	 Counter-

Plaintiff	 resides	 in	 the	 Northern	 District	 of	 Illinois,	 and	 all	 acts	 and	 omissions	 of	 Counter-

Defendant	occurred	in	the	Northern	District	of	Illinois.	

        38.     The	Claimant	incorporates	by	reference,	each	and	every	allegation	contained	in	

each	of	the	paragraphs	above	of	this	counterclaim	as	if	fully	set	forth	herein.	

                                            COUNT	I	
                            DECLARATION	OF	NON-INFRINGEMENT	
                                                	
        39.     Defendant	has	not	infringed	any	of	Defendant’s	rights	under	17	U.S.C.	§	106.	

        40.     Defendant	has	not	infringed	Defendant’s	rights	under	17	U.S.C.	§	501.	

        41.     There	is	an	actual	controversy	now	existing	between	Plaintiff	and	Defendant.	

        42.     A	controversy	remains	and	requires	affirmative	action	by	this	Court	to	determine	

the	respective	rights	of	the	parties.	

        43.     Absent	 a	 declaration	 of	 non-infringement	 in	 his	 favor,	 Defendant	 remains	 prey	

for	This	Plaintiff	and	Other	Plaintiffs	utilizing	the	same	extortion	scheme	described	herein.	

        44.     Dismissal	 from	 this	 lawsuit	 without	 prejudice	 is	 inadequate	 to	 vindicate	

Defendant’s	rights.	

        45.     Defendant	is	entitled	to	a	declaratory	judgment	of	non-infringement,	to	his	costs	

and	 attorneys’	 fees	 as	 a	 prevailing	 party	 pursuant	 to	 17	 U.S.C.	 §	 505,	 and	 to	 such	 other	 and	

further	relief	as	may	be	appropriate,	including	sanctions	against	Plaintiff	and	its	attorneys.	

	

	

	

	


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                                              COUNT	II	
                                      DECLARATION	OF	RIGHTS		
                                                   	
        46.     Fed.	R.	Civ.	P.	4(m),	Time	Limit	for	Service,	states	as	follows:	If	a	defendant	is	not	

served	 within	 90	 days	 after	 the	 complaint	 is	 filed,	 the	 court—on	 motion	 or	 on	 its	 own	 after	

notice	 to	 the	 plaintiff—must	 dismiss	 the	 action	 without	 prejudice	 against	 that	 defendant	 or	

order	that	service	be	made	within	a	specified	time.	But	if	the	plaintiff	shows	good	cause	for	the	

failure,	the	court	must	extend	the	time	for	service	for	an	appropriate	period.	

        47.     This	 Plaintiff	 was	 provided	 this	 Defendant’s	 name	 and	 contact	 information	

sometime	prior	to	February	18,	2018,	the	date	of	Plaintiff’s	first	correspondence	to	Defendant.	

(See	Exhibit	1.)	

        48.     This	 Plaintiff	 has	 made	 no	 effort	 or	 attempt	 to	 amend	 its	 Complaint	 or	 serve	

proper	summons	upon	this	Defendant.		

        49.     This	 Plaintiff	 has	 made	 no	 effort	 or	 attempt	 to	 amend	 its	 Complaint	 or	 serve	

proper	summons	upon	any	Defendant	in	this	matter.	

        50.     This	 Plaintiff	 and	 Other	 Plaintiffs	 make	 no	 effort	 to	 name	 or	 serve	 defendants.	

Rather,	 they	 seek	 informal	 extensions	 to	 continue	 “settlement	 discussions”	 with	 unnamed	

Defendants	and	never	notify	the	Court	that	they	are	not	undertaking	service	attempts.	

        51.     This	 Plaintiff	 and	 Other	 Plaintiffs	 have	 no	 interest	 in	 naming	 and	 serving	 any	

defendant	because	they	have	no	interest	in	litigating	their	claims.6		


																																																								
6
  	Defendant	and	his	counsel	acknowledge	that	there	is	the	rare	instance	when	This	Plaintiff	or	
Other	Plaintiff	will	name	and	serve	a	Defendant,	but	it	is	exceedingly	rare	and	does	not	result	in	
litigation	of	the	merits;	rather,	it	is	Plaintiff’s	effort	to	“up	the	ante”	and	increase	the	probability	
of	a	settlement.	This	Plaintiff	has	over	50	claims	currently	pending,	many	of	them	with	Rule	4	
deadlines	past	or	approaching.		


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        52.     This	Plaintiff	and	Other	Plaintiffs	are	in	violation	of	Fed.	R.	Civ.	P.	4(m)	every	time	

they	have	not	named	and	served	a	targeted	defendant	within	90	days	of	being	provided	a	Doe	

Defendant’s	name	and	contact	information.		

        53.     This	Plaintiff	and	Other	Plaintiffs	are	in	violation	of	Fed.	R.	Civ.	P.	4(m)	every	time	

they	 fail	 to	 voluntarily	 dismiss	 a	 targeted	 defendant	 within	 90	 days	 of	 being	 provided	 a	 Doe	

Defendant’s	name	and	contact	information	if	they	do	not	intend	to	name	and	serve	that	Doe	

Defendant.		

        54.     This	Plaintiff	and	Other	Plaintiffs,	through	their	counsel,	should	be	obligated,	as	

are	other	parties	in	litigation	pending	before	this	Court,	to	comply	with	the	plain	language	of	

Fed.	R.	Civ.	P.	4(m).	

        55.     Counter-Plaintiff,	an	interested	party	hereto,	seeks	a	declaration	that	shall	have	

the	force	and	effect	of	a	judgment	requiring	This	Plaintiff	to	comply	with	the	requirements	of	

Fed.	 R.	 Civ.	 P.	 4(m),	 to	 wit,	 Plaintiff	 must	 name	 and	 serve	 all	 Doe	 Defendants	 with	 proper	

summons	 and	 complaint	 within	 90	 days	 of	 receipt	 of	 any	 Doe	 Defendant’s	 name	 and	 contact	

information.	

        56.     	        Defendant	 is	 entitled	 to	 a	 declaratory	 judgment	 of	 the	 rights	 described	

hereto,	to	his	costs	and	attorneys’	fees	as	a	prevailing	party	pursuant	to	17	U.S.C.	§	505,	and	to	

such	other	and	further	relief	as	may	be	appropriate,	including	sanctions	against	Plaintiff	and	its	

attorneys.	

	

                                JURY	DEMAND	FOR	COUNTERCLAIMS	

	



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Respectfully	submitted,		

	

	      Lisa	L.	Clay	   	

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                                      CERTIFICATE	OF	SERVICE	

Lisa	L.	Clay,	an	attorney,	certifies	that	on	June	20,	2018	she	filed	a	copy	of	the	foregoing	
DEFENDANT	DOE	NUMBER	23’S	ANSWER,	AFFIRMATIVE	DEFENSES	AND	COUNTERCLAIMS	
FOR	DECLARATORY	JUDGMENT	via	the	ECF	filing	system,	which	will	provide	notice	to	all	
counsel	of	record.	
	

	      Lisa	L.	Clay	   	




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